                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



    ROBYN KRAVITZ, et al.                           Case No.: 18-cv-1041-GJH

                        Plaintiffs,
         v.                                         Hon. George J. Hazel

    UNITED STATES DEPARTMENT OF
    COMMERCE, et al.

                        Defendants.



          SECOND JOINT MOTION TO EXTEND BRIEFING SCHEDULE ON
       PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEY’S FEES AND COSTS

         The parties respectfully move the Court to extend the current schedule for briefing on

Plaintiffs’ Motion for Award of Attorney’s Fees and Costs (the “Motion”)—including an

imminent September 13 deadline—in order to allow the parties to continue settlement

discussions regarding Plaintiffs’ request for attorney’s fees and costs. The parties believe that

this extension is appropriate to determine whether the need for judicial resolution of the issues

can be avoided. Thus, to facilitate the ongoing settlement discussions, and in the interest of

judicial economy, the parties request that the Court extend the briefing schedule regarding

Plaintiffs’ Motion as follows:

         1.     On or before September 27, 2019, Plaintiffs shall file an amended or supplemental

                motion for attorney’s fees and costs (the “Amended Motion”). 1




1
  Plaintiffs take the position that they are permitted to amend or supplement their motion for fees
at any time. See Scarborough v. Principi, 541 U.S. 401 (2004). However, they agree to seek the
relief requested herein to facilitate further settlement discussions.
       2.      Defendants’ opposition to the Amended Motion shall be due 14 days after the

               Amended Motion is filed.

       3.      Plaintiffs’ reply in support of the Amended Motion shall be due 14 days after

               Defendants’ opposition is filed.

       A proposed Order granting the instant motion is submitted herewith for the Court’s

convenience.



Dated: September 11, 2019                           Respectfully Submitted,


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